    Case 1:18-cv-00254-MW-GRJ Document 18 Filed 03/08/19 Page 1 of 32




                 TINITED STATES DISTRICT COURT
                 NORTFIERN DISTRICT OF FLORIDA
                      GAINESVILLE DIVISION


RICHARD NEIBERGER, et al.,       )
                             )
                  Plaintifß, )
                             )
        V                    )         Case   No. 1 :18-CV-00254-M'W-G2
                             )
DEUTSCHE BANK AG,            )
                             )
                  Defendant. )




      DEFENDANT' MOTION TO TRANSFER        TO THE
       EASTERN OR SOUTHERN DISTRICT OF NEW YORK
               AND MEMO      I]M OF LAW
   Case 1:18-cv-00254-MW-GRJ Document 18 Filed 03/08/19 Page 2 of 32




                                 Table of Contents

INTRODUCTION                                                                          1



BACKGROTIND                                                                          2

    I.     Plaintifß'Allegations.............                                        2

    II.    The Similar Cases Pending in the Eastern District of New York........     5


    III.   The Similar Cases Pending in the Southem District of New
           York                                                                      7

    IV.    No Similar   Cases Are Pending Anywhere Except New York............. 8

ARGUMENT                                                                             10

    I      Transfer To New York, Which Plaintiffs Recognize Is A
           Convenient Forum for Their ATA Claims, Would Be in the
           Interest of Justice                                  ..................   11


           A      The Interest of Justice Weighs Strongly in Favor of
                  Transfer Based on the Highly Similar Cases Pending in
                  New York and Deutsche Bank's Presence in New York.           ..... t2

           B.     This Case Has Strong Ties to New York but Only
                  Minimal Ties to Florida ..                                         l7
           C.     Plaintifß' Choice of Venue Should Be Afforded No
                  Deference                                                      ..21

    II.    Venue Is Proper in New York                                               23

CONCLUSION                                                                           25
        Case 1:18-cv-00254-MW-GRJ Document 18 Filed 03/08/19 Page 3 of 32




                                  Table of Authorities
                                                                             Page(s)

Cases

Amaya v. Victoria's Secret Stores, LLC,
  No. 08-8 1367 -C|v-RYSKAMP/VITLIN AC,2009 WL 1 0667 492
  (S.D. Fla. Aug. 3,2009)..                                                    13, 17

Cainv. Twitter, Inc.,
  17 Civ . 122 (P AC), 2017 IVL 1 489220 (S.D.N.Y. Apr. 25, 2017) .......   12, 22, 25

Carucel Invs., L.P. v. Novatel Wireless, Inc.,
   157 F. Snpp. 3d 1219,1229 (S.D. Fla. 2016)                                      T6


Chicken Kítchen USA, LLC v. Tyson Foods, Inc.,
   No. 17-21503-CIV-WLLIAMS, 2017 WL 6760811 (S.D. Fla.
   Oct. 4,2017)......                                                               l2

Cliftonv. Florida, Bow Thrusters, Inc.,
   No.5:10-cv-8/RS/EMT,2010 WL 11507724 (N.D.Fla. Mar.            17
   2010)                                                                           23

Cont'l Grain Co. v. The FBL-585,
  364 U.S. 1e (1e60).......                                                      2, 12

Cozumel Leasing, LLC v.   Int'l
                          Jets, Inc.,
   No. 5:10-cv-8/RS/EMT, 2016 WL 397 615 (M.D. Fla. Feb. 2,
   20t6)                                                                           .25

Deep v. XAC, LLC,
  No. 07-8-C,2007 WL 1308356 (W.D. Ky. May 2,2007)                                 23

Freeman v. HSBC Holdings PLC,
   14 CV 6601(DLI) (CLP), 2018        wL   361684s (E.D.N.Y.Iuly 27,
   201 8)                                                                            6

Hamel-Schwuls t v. l{egrotto,
   No. 308cv529lMCR/EMT, 2010 WL 5483 1 I (N.D. Fla. Feb.        1 1,

   2010)                                                                            13
      Case 1:18-cv-00254-MW-GRJ Document 18 Filed 03/08/19 Page 4 of 32




Hoffman v. Medquíst, Inc.,
   No. 1:04-CV-3452-WSD,2005 WL 3095713 (N.D. Ga. Nov. 16,
   2005)                                                                         13


Jones Real Estate, Inc. v Avatel Techs., Inc.,
   No. 17-23933-CIV-O'SULLIVAN,2018 WL 1121537 (S.D. Fla
                                                                                 2l

Kemper v. Deutsche Bank AG,
  911 F.3d 383 (7th Cir. 2018)                                                .4,9

Manuel v. Converg,,s Corp.,
  430 F.3d ll32 (11th Cir. 2005)                                                 11


Martin v. Scottrade, Inc.,
  No.: 8: I7-cv-1042T-24 AAS, 2017 WL 6624136 (M.D. Fla. Dec.
  28,2017)                                                                  13,21

Martin v. South Carolina Banlc,
  811 F. Supp. 679 (M.D. Ga. 1992)                                               23

Martinez v. Deutsche Bqnk AG,
  No. l6-1207-DRH, 2017 WL 1366048 (S.D. Ill. Apr. 12,2017)              10, 18,22

Martínez v. Shulkín,
   No. 1 :l7cvl28-MW/CAS ,2017 WL 10821303 (N.D. Fla. Aug.2,
   2017)...                                                                     .2r

Motorola Mobility, Inc. v. Microsoft Corp.,
  804 F. Supp. 2d 1271r (S.D. Fla. 2011)                                    16,21

O'Sullivan v. Deutsche Bank AG,
   17 Civ.8709 (LTS) (GWG), 2018         wL     1989s85 (S.D.N.Y. Ap..
   26,2018)                                                                        I
Roffo v. IMachovía Corp.,
   242 F . Snpp. 2d 1223 (M.D. Fla. 2002)                                       ..15

S. Mìlls, Inc. v. l{unes,
   586 F.   App'* 702 (11th Cir. 2014)                                     ........t4




                                           ll
      Case 1:18-cv-00254-MW-GRJ Document 18 Filed 03/08/19 Page 5 of 32




Saleem v. Centurion of Florida., LLC,
   No.4:IïIv473-M'MCJK,2018 WL 6046188 (N.D. Fla. Nov. 19,
   2018)                                                                                    13


Shaffer v. Deutsche Bank AG,
  No. l6-CR-497-MJR-SCW, 2017 WL 8786491 (S.D.             I11.   Dec. 7,
   20r7)                                                                                     9

Southards v. ConAgra Foods, Inc.,
  No. C 07-05355 JF,2008 WL 108899 (N.D. Cal. Jan.         8,2008)                   ........23

Stewqrt Org., Inc. v. Ricoh Corp.,
   487 U.S. 22 (1988)...........

Thermal Techs., Inc. v. Dade Servs. Corp.,
   282F. Supp. 2d t373 (S.D. FLa.2003) . ...........   .                              20,23

In re Vícor Corp.,
    493 F. App'x 59 (Fed. Cir.2012)   .....                                                 13


In re World Wide Med. Tech. LLC,
   Nos. 4:Il-cv-614IRS-CAS, 4: l2cvI7OlRS-CAS, 12 Civ.             170,
    2012 WL 1252423 (N.D. Fla. Apr. 13,2012)                                           1r,20

Wultz v. Islamic Republic of lran,
  7 62 F . Srpp. 2d tB (D.D.C. 20tI)                                                       .24

Statutes and Rules

12 C.F.R. $ 261 .2(c)( 1)   .                                                               15


12 C.F.R. $ 261 .22(e)                                                                      15


l8 u.s.c.   5 2333

18 U.S.C. $ 2333(a)..                                                          ...   passtm

18 U.S.C. $ 2333(d)                                                         ...4,6,8,       15


18 U.S.C. $   n3a@)                                                                        .24

28 U.S.C. $ 1aOa(a)                                                                  passim

N.Y. Banking Law $ 36(10).....                                                          .....1 5

                                              lll
       Case 1:18-cv-00254-MW-GRJ Document 18 Filed 03/08/19 Page 6 of 32




       Defendant Deutsche Bank AG ("Deutsche Bank") hereby moves the Court,

pursuant to 28 U.S.C. $ 1a0a(a), to transfer venue to the Eastem District of New

York, or in the alternative to the Southern District of New York.

                                         INTRODUCTIOI'{

       This case is one of many actions brought against'Western financial

institutions asserting claims under the Anti-Terrorism Act ("ATA"), 18 U.S.C.

ç 2333, in connection with tragic battlefield deaths or injuries sustained by U.S.

service members in Iraq.      All of these     cases are pending   in federal court in New

York. Indeed, remarkably, on the same day Plaintiffs filed this action, the exact

same   Ptaíntffi filed   an identical case in the Eastern District of New     York against

ten other financial institution defendants raising the very sqme claíms. Stephens v.

HSBC Holdíngs PLC, No.         1   :1   8-cv-07439-RJD-CLP (E.D.N.Y.). Rather than join

Deutsche Bank with these ten other defendants in a single action, Plaintiffs split

their claims between two courts in different districts and circuits.

       Plaintiffs are entitled to sympathy for their tragic losses. But there is no

legitimate reason to file essentially the same action in two different courts

separated by more than 1,000 miles. New York was the logical place for all             of

Plaintiffs' claims to be filed, given that the only relevant U.S.-based conduct that

Plaintiffs allege occurred there and because of the multiple similar actions already

pending there. None of the events alleged in the Cornplaint have any connection
        Case 1:18-cv-00254-MW-GRJ Document 18 Filed 03/08/19 Page 7 of 32




whatsoever to Florida. The only explanations for filing this lawsuit in the Northern

District of Florida are forum-shopping and gamesmanship, a strategy to gain two

bites at the apple.

         This Court need not and should not condone this tactic. Plaintiffs by their

actions have acknowledged that New York is an appropriate forum. The factors

traditionally considered by coutts under 28 U.S.C. $ 1404(a) strongly support

transfer. If Plaintifß are permitted to press the same claims simultaneously in New

York and Florida, it would encourage the "wastefulness of time, energy and money

that [Section] 1 a\a@) was designed to prevent." Cont'l Grain Co. v. The FBL-

585,364 U.S. 19,26 (1960). Transfer should be granted

                                        BACKGROUNI)
  I.     Plaintiffs'Allegations
         Plaintiffs   are 23   family members and two estates of four U.S. Army soldiers

who were tragically killed in Iraq.       ^See
                                                 Compl.   llll 11-60. They allege that Sgt.

Blake Stephens, Cpl. Joshua Reeves, Spc. Christopher Neiberger, and Spc. Steven

A. Davis were killed in attacks perpetrated by the Jaysh al-Mahdi militia in Iraq

Id fln 12,25,39, 51. Plaintifß reside all across the country:            four Plaintifß reside

in ldaho, íd. \11 16- 1 8, 2l; rwo in California, id. flfl 1 9-20; two in Tennessee, id

TIT   29-30; four in Georgia,     id fln3l-33,35;     four in Florida, id.nn34, 43-45; two in




                                                  2
      Case 1:18-cv-00254-MW-GRJ Document 18 Filed 03/08/19 Page 8 of 32




Virginia, id.\1146,59; one in Washington, D.C., id.ll47; and four in North

Carolina,   íd.ff[   55-58.

      Plaintiffs' claims are premised on Deutsche Bank's supposed participation in

a conspiracy with, among others, Iran and Iranian banks to evade U.S. economic

sanctions that broadly restricted activities involving Iran. See id. IJI               l,   77   , 150

Plaintifß allege that Deutsche Bank provided U.S. dollar-denominated

correspondent banking services to state-controlled Iranian financial institutions and

other customers who were subj ect to U. S . sanctions     .   See id.   n\   17   2,   183   , 235 , 249   ,



254,257,267     . ln processing   transactions for these customers, Plaintiffs allege that

Deutsche Bank employees removed or omitted identifying information before

routing the wire transfers through Deutsche Bank's New York Branch, Deutsche

Bank's New York-based subsidiary, Deutsche Bank Trust Company Americas

("DBTCA"), and other U.S. correspondent banks, thereby shielding the transfers

from U.S. government scrutiny. See id. nn74,193,I95,205-33.

      Plaintiffs' allegations regarding Deutsche Bank draw heavily on a consent

order that Deutsche Bank entered into with the New York State Department                            of

Financial Services in November 2015, in which Deutsche Bank admitted to not

maintaining accurate books and records.       ,See   Compl. Ex.   A.    The consent order

concerned "non-transparent methods and practices" that Deutsche Bank used in

processing U.S. dollar clearing transactions on behalf of Libyan, Syrian, Sudanese,


                                              a
                                              J
          Case 1:18-cv-00254-MW-GRJ Document 18 Filed 03/08/19 Page 9 of 32




Burmese, and Iranian financial institutions and others from 1999 through 2006.

See id. aL2. But, as one court recently noted, "the consent order does not state or

suggest that any of the transactions Deutsche Bank processed were used to fund

terrorism     ."   Kemper v. Deutsche Bank AG, 91 I F.3d 3 83, 3 88 (7th Cir. 201 8)

           Separate from    Plaintiffs' allegations relating to Deutsche Bank, Plaintifß

allege that the Iranian government sponsors terrorists using U.S. dollars. See

Compl. IT 4, 75-78,133. According to Plaintiffs, Iran sent U.S. dollars to the

Islamic Revolutionary Guard Corp's "Qods Force" and Hezbollah, who in turn

provided support, including weapons and training, to Iraqi groups that targeted

U.S. forces during the Iraq War. See id.        TIT   108, 120,   197   ,200,201. Plaintiffs   do

not allege that Deutsche Bank transacted with the Jaysh al-Mahdi militia that

allegedly perpetrated the attacks at issue here (or any other Iraqi groups), or that

any of the funds that Deutsche Bank transferred were used to fund any such

groups.

           Based on their allegations, Plaintiffs assert three claims under the ATA.

Two claims are for primary liability under 18 U.S.C. $ 2333(a), based on               a theory


that Deutsche Bank itself allegedly committed acts of international terrorism.                 1d.


fl']J   268-303. The third claim is for secondary liability under 18 U.S.C. $ 2333(d),

on a theory that Deutsche Bank aided and abetted, by knowingly providing




                                                 4
      Case 1:18-cv-00254-MW-GRJ Document 18 Filed 03/08/19 Page 10 of 32




substantial assistance to, a perpetrator of an act of international terrorism. Id.

n1:304-32r.

il.    The Similar Cases Pending in the Eastern District of New York

       Plaintiffs' Complaint against Deutsche Bank is a duplicate of the Stephens

complaint filed in the Eastern District of New York by the same Plaintifß. In that

case, Plaintiffs allege that ten other firtancial institutions     -   HSBC Holdings PLC,

HSBC BanK PLC, HSBC BanK Middle East Limited, HSBC BanK USA, N.4.,

Barclays Bank PLC, Standard Chartered Bank, Royal Bank of Scotland, N.V.,

Credit Suisse AG, Bank Saderat PLC, and Commerzbank AG                    - are responsible   for

the same injuries that this action attributes to the conduct of Deutsche Bank. See

Declaration of Laena St-Jules ("St-Jules Decl.") Ex. A (Compl., Stephens v. HSBC

Holdings PLC,No. 1:18-cv-07439-RJD-CLP (E.D.N.Y. Dec. 28, 2018), ECF No.

| ("stephens Compl.")).     As here, the'Western financial institution defendants in

Stephens are alleged to have processed transactions on behalf of Iranian entities in

a non-transparent manner to evade lJ.S. sanctions. Compare Compl.                 1l1l172,I93,

206-07 with Stephens Compl.Tll          6,11,12,34. As here, Plaintiffs claim in

Stephens that this enabled Iran to increase the amount of supporl it provided to

groups targeting [J. S. service members in         Iraq. Contpare Cornpl. l]l[ 1 64, 17 I , 17 4,

IBI with Stephens Compl.     lT'1T   10, 51-55,   177. And   as here,   Plaintiffs in Stephens

assert (1) primary   liability claims under $ 2333(a) and (2) an aiding-and-abetting


                                                  5
     Case 1:18-cv-00254-MW-GRJ Document 18 Filed 03/08/19 Page 11 of 32




claim under $ 2333(d). Compare Compl. \n268-321 with Stephens Compl.

n nl7-55, 1359-77. Plaintiffs recently stipulated that the Stephens action should

be stayed, "in the interest of efficiency and judicial economy," pending a decision

on a motion to dismiss in another similar ATA action in the Eastern District       of

New York.   ,See   St-Jules Decl. Ex. B (Stipulation     & Order, Stephens   v. HSBC

Holdings PLC,No. 1:18-cv-07439-RID-CLP (E.D.N.Y. Feb. 13,2019), ECF No.

7)

      Plaintiffs' action in Stephens joins four other substantially similar ATA

actions brought by over 2,000 plaintiffs in the Eastern District of New York:

Freeman v. HSBC Holdings PLC,No.             1:   14-cv-06601 -DLI-CLP (E.D.N.Y. Nov.

10,2014) ("Freema, l'); Freeman v. HSBC Holdings PLC, No. 1 :18-cv-07359-

DLI-CLP (E.D.N.Y. Dec. 26,2018) ("Freeman Il'); Donaldson v. HSBC Holdings

PLC,No. I :l 8-cv-07442-LDH-JO (E.D.N.Y. Dec. 28, 201 B); and Tavera v. HSBC

Bank USA, N.A., No.     1   :1   8-cv-073L2-LDH-SJB (E.D.N.Y. Dec. 21,2018).1

Deutsche Bank is a defendant in two of these actions, Donaldson and Tavera. The



1
  Freeman II, Donaldson, and Tavera weîe all filed within a week of this action
 and Stephens. Freeman I was filed in2014,.but discovery_has been stayed, and the
case has not progressed past the motion to disrniss stage. T,ast year, the magistrate
judge in Freèman l issuêd a Reporl and Recommendation ("R&-R")_rggogmending
äenJal of the defendants' motiohs to disrniss. ,See Freeman v, HSBC Holdings
PLC,14 CV 6601 (DLI) (CLP),2018 WL 3616845 (E.D.N.Y. July 27,2018). The
Free:man l defendants have filed objections based on a nurrìbeJ.o.f significant legal
errors in the R&R, and their objections remain pending. ,See Objections, Freeman
v. HSBC Holdings PLC, 1 : 14-cv-06601-DLI-CLP (E.D.N.Y. Aug. 31, 201 B), ECF
Nos. 173,174.

                                                  6
         Case 1:18-cv-00254-MW-GRJ Document 18 Filed 03/08/19 Page 12 of 32




defendants in Stephens are also defendants in all four other pending actions in the

Eastern District of New York.

ilI       The Similar Cases Pending in the Southern District of New York

          Plaintiffs' allegations and claims also overlap with the allegations and

claims brought by 211 plaintiffs in two related actions filed in the Southern District

of New York in connection with 55 attacks O'sullivan               I    and   O'sullivan II.2 The

O'Sullívaø plaintiffs have sued (among others) Deutsche Bank and all of the

defendanrs in Stephens, without splitting defendants between different cases                    as


Plaintiffs have done here. As here, the O'Sullivan plaintiffs allege that Deutsche

Bank and the other Western financial institution defendants processed transactions

on behalf of Iranian entities in a non-transparent manner to evade IJ.S. sanctions

Compare Compl. n 172, 193, 206-07 with St-Jules Decl. Ex. C 'ï'll 43,                 47   , 48, 67 ,

1413 (Compl., O'Sullivan v. Deutsche Bank         I   G,   No.   1:1   7-cv-08709-LTS-GWG

(S.D.N.Y. Nov. 9, 2017), ECF No.        I ("O'sullivan I Compl.")).             As here, the

O'Sullivan plaintiffs allege that this enabled Iran to increase the amount of support

it provided to groups targeting U.S. service members in lraq. Compare Compl.

1l.1T   164, 171,174,181 with O'sullivan   I Compl.ll1402.             And    as here, the




2
 The O'Sullivan plaintiffs filed a second action to add new plaintiffs and a new
claim. O'sullivañ tt is currently stayed pending resolution of the fully briefed
motion to dismiss filed in O'sullivan I. See Stipulation & Order, O'Sullivan v.
Deutsche BanklG, No. 1:17-cv-08709-LTS-GWG (S.D.N.Y. Jan. 30,2019), ECF
No.      190.

                                              7
     Case 1:18-cv-00254-MW-GRJ Document 18 Filed 03/08/19 Page 13 of 32




O'sullivan plaintiffs assert (1) primary liability claims under $ 2333(a) and (2) an

aiding-and-abetting claim under $ 2333(d). Compare Compl. 1lt"268-321 with

O'Sullivan   I Compl. llf 2408-40,2495-512;    St-Jules Decl. Ex. D   ITT   2695-98,

(Compl., O'Sullivan v. Deutsche BanklG, No. 1 :18-cv-12325-LTS-GWG

(S.D.N.Y. Dec. 29,2018), ECF No. 1 ("O'Sullivqn       II Compl."))

      A motion to dismiss has been fully briefed in O'Sullivan I since July        2,


2018. Discovery is currently stayed by an order of the magistrate judge, objections

to which were overruled by the District Couft, which found that the defendants had

"made a strong showing that they are likely to succeed on their motion to dismiss

with respect to liability under 18 U.S.C. ç 2333," including the plaintiffs' claims of

both primary and aiding-and-abetting   liability. O'Sullivan   v. Deutsche Bank AG,

l7 Civ.8709 (LTS) (GWG),2018 WL 1989585,            at *7 (S.D.N.Y.Apr.26,2018)

IV    No Similar Cases Are Pending Anywhere Except New York

      All of the pending related cases are in New York. Two similar actions were

filed in the Southern District of lllinois, but none is pending; one was dismissed

and the other was transferred to New York.

      One of the cases was Shaffer v. Deutsche Bank     lG,    No. 3:i 6-cv-00497-

MJR-SCW (S.D. Ill.), which asserted the same two prirnary liability clairns that

Plaintiffs assert here under 18 U.S.C. $ 2333(a). See St-Jules Decl. Ex. E n\n9-

74 (Compl., Shaffer v. Deutsche   BanklG, No. 3:16-cv-00497-MJR-SCV/ (S.D. Ill.


                                           8
     Case 1:18-cv-00254-MW-GRJ Document 18 Filed 03/08/19 Page 14 of 32




lr4ay 4,2016), ECF   No. 1). Plaintifß' Complaint is a near word-for-word copy of

Shaffer.3 The Shaffer complaint was dismissed by the Southern District of Illinois

for failure to state aclaim, see Shaffer v. Deutsche BanklG, No. 16-CR-497-MJR-

SCW, 2017 WL 8786497 (S.D.       I11.   Dec. 7,2017), and the Seventh Circuit recently

affirmed dismissal on three independent grounds, see Kemper,gl1 F.3d 383. The

Seventh Circuit held that the complaint failed to adequately allege three elements

required to state the asserted $ 2333(a) primary liability claims: (1) Deutsche

Bank's alleged conduct did not meet the statutory elements for committingan"act

of international terrorism"; (2) Deutsche Bank did not proximately cause the

attacks in lraq; and (3) the alleged facts did not support a claim that Deutsche Bank

joined a conspiracy to support terrorism. See id. at390,394-96

      The second case is Martinez v. Deutsche       BanklG, No. 3:16-cv-01207-

DRH-DGW (S.D. Ill. Nov. 2,2016). That suit was brought against Deutsche Bank

and all of the same defendants in Stephens,based on the same core allegations.      l8

of the 25 Plaintiffs in this action were plaintiffs in Martinez. St-Jules Decl. Ex. F

(Compl., Martinez v. Deutsche BanklG, No. 3:16-cv-012O7-DRH-DGW (S.D. Ill.

Nov. 2,2016) ("Martínez Cornpl.")). The district courl granted the defendants'


3
  Deutsche Bank did not seek to transfer rhe Shaffer action because (1) the Shaffer
plaintiffs had not filed a parallel action in a different coutl seeking to hold other
banks liable for the sarne injuries (unlike here), (2) the srnall number of $hqffer
plaintiffs all resided in their: chosen forum (unJ!\e here), and (3) wlEn Shffir was
filed, Deutsche Bank was not simultaneously litigating any other ATA action
(unlike now).

                                              9
        Case 1:18-cv-00254-MW-GRJ Document 18 Filed 03/08/19 Page 15 of 32




motion to transfer lhe Martínez case to the Eastern District of New York.          ,See


Martinez v. Deutsche BanklG, No. 16-1207-DRH, 2017 WL 1366048 (S.D. I1l.

Apr. 12,2017). Following that transfer and a motion to dismiss, the Martinez

plaintiffs voluntarily dismissed their action without prejudice. Notice of Dismissal

& Order, Mørtinez       v. Deutsche   BanklG, No. 1:17-cv-02474-NGG-RER

(E.D.N.Y. Oct. 5,2017), ECF No. 130.4

                                        ARGUMENT
         The Court should transfer this action to New York pursuant to 28 U.S.C.

$ 1a0a(a). The factors courts consider in transferring actions weigh heavily in

favor of transfer, including the decisive fact that several cases raising the same

claims and issues are pending in New York, includíng one brought by the exact

same    Plaíntffi, in a misbegotten attempt to split one case into two. Venue is

proper in the Southern District of New York, so this case can readily be transferred

there. Venue would not have been proper in the Eastern District of New York had

these   plaintifß sued Deutsche Bank as a sole defendant in that district, but

Defendants     will   consent to transfer to that district for purposes of this motion, as




4
    All of the Plaintiffs in the present case also asseft that various
                                                                pharrnaceutical and
rnedical equipment companies are responsible for the same attacks at issue here, in
an ATA action pending in the District Courl for the District of Colurnbia. See
Second Am. Compl.' Atchley v. Astrazeneca rJK Ltd', No' 1 :1 7-cv-02136-RJL
(D.D.C. Dec. 3 1,201 B), ECF No. 100- 1
                                                10
      Case 1:18-cv-00254-MW-GRJ Document 18 Filed 03/08/19 Page 16 of 32




$ 1aOa(a) permits. Given the logic of consolidating this action with Stephens,

Deutsche Bank invites Plaintiffs to do the same

 I.   Transfer To New York, Which Plaintiffs Recognize Is A Convenient
      Forum for Their ATA Claimso Would Be in the Interest of Justice

      A district court has "broad discretion" to transfer an action "[f]or the

convenience of parties and witnesses" and "in the interest   ofjustice."       See 28


U.S.C. $ 1aOa(a); In re World I4¡ide Med. Tech. LLC, Nos. 4: I l-cv-614IRS-CAS,

4:l2cvl70lRS-CAS, 2012 WL 1252423, at * 1 (N.D. Fla. Apr. 13, 2012). In

determining whether to transfer an action, courts engage in an "individualized,

case-by-case consideration of convenience and fairness . . . weigh[ing] in the

balance a number of case-specific factors." Stewart Org., Inc. v. Rícoh Corp.,487

rJ.5.22,29 (1988). Factors relevant to a court's transfer analysis include: "(1) the

convenience of the witnesses ; (2) the location of relevant documents and the

relative ease of access to sources of proof; (3) the convenience of the parties; (4)

the locus of operative facts; (5) the availability of process to compel the attendance

of unwilling witnesses; (6) the relative means of the parties; (7) a forum's

farniliarity with the governing law; (8) the weight accorded   a   plaintiff   s choice   of

forum; and (9) trial efficiency and the interests ofjustice, based on the totality of

the circumstances." Manuel v. Convergys Corp.,430 F.3d 1132, | 135 n.1 (11th

Cir. 2005)



                                           11
        Case 1:18-cv-00254-MW-GRJ Document 18 Filed 03/08/19 Page 17 of 32




        All of these factors weigh heavily in favor of transfer, particularly      because


cases   involving the same issues are already pending in the Eastern and Southern

Districts of New York. Transfer would advance the fundamental purpose of

$ 1a0a(a), which "was designed to prevent" "the wastefulness of time, energy and

money" that arises where "two cases involving precisely the same issues are

simultaneously pending in different District Courts." Cont'l Grain,364 U.S. at26.

         A.      The Interest of Justice Weighs Strongly in Favor of Transfer
                 Based on the Highly Similar Cases Pending in New York and
                 Deutsche Bank's Presence in New York

         In   analyzing the trial efficiency and interest ofjustice factors, the existence

of similar litigation in the transferee district can be dispositive. See Chicken

Kítchen (ISA, LLC v. Tyson Foods,1nc., No. I7-21503-CIV-\MILLIAMS,2017

WL 6760811, at *3 &. n.3 (S.D. Fla. Oct. 4,2017) (transfening action to district

where different plaintiffs had sued the defendants based on the same allegations,

even where other factors did not weigh in favor of transfer); Cain v. Twitter, Inc.,

17 Civ . 122 (P AC), 2017 WL 1489220, at *3 (S.D.N.Y. Apr.           25   , 2017) (noting, in

the context of a successful motion to transfer an ATA case, that the existence of

similar litigation in the transferee district can be "decisive")

         As a result, courls routinely transfer actions to districts where sirnilar

litigation is pending, even where there is not a complete identity of parties. This

Court, for example, has transferred a case to a district where the same plaintiff was


                                               12
       Case 1:18-cv-00254-MW-GRJ Document 18 Filed 03/08/19 Page 18 of 32




already litigating an action with common questions of law and fact against a

different defendant. See Saleemv. Centurion of Florida., LLC,No.4:I8cv473-

MWCJK,2018 WL 6046188, at *1 (N.D. Fla. Nov. 19,2018) (V/alker, C.J.)

(adoptíng Report & Recommendation, No. 4:78cv473-MW-CJK,20l8 WL

6048037, af *2 (N.D. Fla. Oct. 23,2018)); see also Hamel-Schwulst v. Negrotto,

No.308cv529lMCRÆMT,2010 WL 548318, at *7 (N.D. Fla. Feb. 11,2010)

(transferring case to district where plaintiff was litigating a nearly identical case

against some of the same defendants); Amaya v. Victoria's Secret Stores, ZZC, No

08-8   1   3   67-Civ-RYSKAMP/VITI-INAC, 2009 WL          1   0667 492, at * 6 (S.D. Fla. Aug.


3,2009) (transfering case to district where different plaintiffs had brought

substantially similar actions); Martinv. Scottrade, Inc., No.: 8:17-cv-1042T-24

AAS, 2017 WL 6624136, at *5 (M.D. Fla. Dec. 28,2017) (similar); Hoffmanv.

Medquist,lnc., No. l:04-CV-3452-WSD, 2005 WL 3095713, at *2-3 (N.D. Ga.

Nov. 16,2005) (similar; noting that "some courts have indicated" that the

"presence of related proceedings in the transferee court" "may be more important

than the three [factors] set out in Section 1,404(a)"); In re Vicor Corp.,493 F

App'*          59, 61 (Fed. Cir.2012) ("[T]he existence of multiple lawsuits involving the

same issues         'is a paramount consideration when determining whether a transfer is

in the interest of justice.' Judicial economy may be served even when 'two related

cases before the same court may not involve the same defendants and accused


                                                13
     Case 1:18-cv-00254-MW-GRJ Document 18 Filed 03/08/19 Page 19 of 32




products."' (citation omitted)); cf. S. Mills, Inc. v. Nunes,586 F. App'x 702,706

(l lth Cir.2014) (upholding decision not to retransfer action to Virginia              based on

existing action in Georgia with identical issues and overlapping parties; "[b]y

declining to fragment a case about a single arbitration award into two suits, the

district court avoided multiplicitous proceedings and potentially conflicting

judgments").

      Transfer is warranted here based on the existence of the indisputably similar

cases in the Eastern    District of New York (Stephens, among others) and the

Southern District of New York (O'Sullivan). All three cases seek to recover

damages for attacks against U.S. service members who were serving                 inlraq.   See


Compl.   I3;   Stephens Compl.    TIJ   7, l0; O'Sullivan   1 Compl.    \n 2, I I . All three

cases assert claims against'Western financial institutions for processing

transactions on behalf of Iranian entities, including Bank Saderat, Bank Melli, and

Iran's Central Bank, in a manner allegedly designed to evade lJ.S. sanctions.               ,See


Compl. TT 1, 183, 195,254,267; Stephens Compl.              lTlT   6, 58, 526-41 552-61;

O'sullivan     I Compl.T 3 ,1324,1422,2069. All three cases seek to tie these
financial activities to attacks in Iraq. See Compl.'1TT 1-2; Stephezs Compl. llfl 5-7;

O'Sullívan     I Compl. lllT 3-4. All three cases include either Plaintiffs      or Deutsche

Bank as parlies. See generally Compl.; Stephens Compl.; O'Sullivan                 I   Compl.

And all three cases asseft clairns under $ 2333(a) for committing acts of


                                                14
      Case 1:18-cv-00254-MW-GRJ Document 18 Filed 03/08/19 Page 20 of 32




international terrorism, and under $ 2333(d) for aiding and abetting acts              of

international terrorism.    ,See   Compl. ll1l268-321; Stephens Compl.        lTT   1217-55,

1359-77; O'sullivan     I Compl.     1T   2408- 40,2495-512; O'Sullívan 11 Compl . nn 2695-

98.

       The issues that   will   need to be decided in each action       will thus be

substantially duplicative at each stage. At the motion to dismiss stage, the

defendants in the three actions have already asserted, or        will   assetl, similar

defenses. If the actions proceed to discovery, the parties will have to explore

largely overlapping factual issues and may have to confront the same complex

discovery questions. For example, because Deutsche Bank and other Western

financial institutions entered into relevant settlements with bank regulators,

production disputes may arise among the parties as well as government agencies

regarding the application of the bank examination privilege and the prohibition on

disclosure of confidential supervisory information.s         If the actions   proceed to trial,

the plaintiffs   will have to prove similar facts. The risk of duplication rs even

stronger in light of Plaintiffs' choice to split their claims between two separate

courts, since the exact same facts about the attacks and injuries that would have to


5
  See frfft v. Wachovig Çorp. , 242 F.. Supp. 29 !?2.3; 1225 (M.D. Fla. ,2002) (bank
examinátion privilege belongl.lo_r_egylator.and shields from discovery "agency
opinions or recoffrmendations"); N.y. Banking Law $ 36( 10) (prohibiting
disclosure of "repofts of examinations and investigations, correspondence and
lremoranda conóerning or arising out of such examination[s] and investigations");
 l2 C.F.R. $ 261 .2(c)(1), $ 261.22(e) (sirnilar).
                                                  15
       Case 1:18-cv-00254-MW-GRJ Document 18 Filed 03/08/19 Page 21 of 32




be proved in this case   will   also have to be proved in Stepher¿s. There is simply no

reason to burden two courts with the task of simultaneously addressing the same

claims raising the same issues

         The Court need look no further than Plaintiffs' own actions to conclude that

efficiency interests are al stake here. Just a few weeks ago, Plaintiffs stipulated

that the Stephens action should be stayed "in the interest of eff,rciency and judicial

economy" in light of a pending motion to dismiss in the related Freeman           I case
See St-Jules Decl. Ex. B (Stipulation     &   Order, Stephens v. HSBC Holdíngs PLC,

No. I : I 8-cv-07439-RJD-CLP (E.D.N.Y. Feb. 1 3, 2019), ECF No. 7). They plainly

cannot dispute that their attempt to split one case into two contravenes the same

"interests of efficiency and judicial economy."

         Moreover, the interest ofjustice factor weighs even further in favor      of

transfer here because New York courts have a substantial interest in adjudicating

Plaintifß' claims based on Deutsche Bank's operation of a branch in New York

with 687 employees.      See Declaration of Bernadette Whitaker ("Whitaker         Decl.")

ll4;   see, e.g., Carucel Invs., L.P. v. lVovatel Wíreless,   Inc.,l57 F. Srrpp. 3d    1219,

1229 (S.D. Fla.2016)      ("[T]he California District has a substantial interest in

adjudicating controversies involving a corporation employing hundreds             of

California residents."); Motorola Mobility, Inc. v. Microsoft Corp., 804 F. Supp. 2d

1271,1278 (S.D. Fla. 2011) ("This Courl finds that due to the extent         of

                                               16
      Case 1:18-cv-00254-MW-GRJ Document 18 Filed 03/08/19 Page 22 of 32




Microsoft's presence in the Western District of V/ashington, the local interest in

this case would be higher there than in this District."); see also Amaya,2009 WL

10667492,             ú *5 (finding    transferee district had"a unique and compelling interest

in adjudicating disputes involving" defendant companies that were headquartered

in the transferee district, even where plaintiffs were Florida residents)

       B.                 This Case Has Strong Ties to New York but Only Minimal Ties to
                          Florida

       This case's lack of any meaningful connection to Florida on the one hand,

and strong connections to New York on the other, also strongly supports transfer

Based on the highly uneven nature of these connections, the following factors all

weigh heavily in favor of transfer: (1) the convenience of the witnesses1, (2) the

location of relevant documents and the relative ease of access to sources of proof;

(3) the convenience of the parties; (4) the locus of operative facts; and (5) the

availability of process to compel the attendance of unwilling witnesses

       Convenience of the parties. The only connection Plaintiffs' complaint has

to Florida is that four out of the 23 individual Plaintifß reside somewhere in the

state.6 See Compl.             T1[   34, 43-45. But the rnajority of Plaintiffs are scattered across




6
 Plaintiffs do not specify whether any of these four Plaintiffs resides in the
Northern District of Florida. See Compl. TT 34, 43-45.
(continued.   .   .   )

                                                        17
      Case 1:18-cv-00254-MW-GRJ Document 18 Filed 03/08/19 Page 23 of 32




the country,T and there is no reason to conclude that it would be more convenient

for all Plaintiffs to litigate this action here. See Martinez 2017 WL 1366048, at*4

(rejecting plaintifß' argument that litigating an ATA action similar to the present

one in the Southern District of Illinois would be more convenient where plaintiffs

were citizens of many states, even though three plaintiffs resided in Illinois). Itt

fact, Plaintiffs have shown that it would not be inconvenient for them to litigate in

New York, because they filed a vírtually identical action in l,{ew York. Fufther,

transfer to the Eastern District of New York would be especially convenient for

Plaintiffs    as their    two actions could be consolidated, thus avoiding duplicative

litigation. If this       case were to go to   trial, the question is not whether it would be

more convenient for particular plaintiffs or witnesses to travel to Florida or New

York, but whether they would have to travel to Florida ín additíon /o New York.

       By contrast, it would be inconvenient for Deutsche Bank to defend this

action here. Deutsche Bank maintains a branch in the Southern District of New




7
  Four Plaintiffs reside in Idaho, Compl. IIT i 6- 18,21 ; two reside in California, íd.
Jffl 19-20; two reside in Tennessee, id. ]n 29-30; four reside in Georgia, id. Tf 3 1-
33,35; two reside in Virginia, id.llfl 46, 59; one resides in Washington, D.C., id.
1a7; and four reside in North Carolina, id.Í11155-58.
(continued.   .   .   )

                                                    l8
     Case 1:18-cv-00254-MW-GRJ Document 18 Filed 03/08/19 Page 24 of 32




York,8 in close proximity to the Eastern District of New York,e and is already

defending a related action in the Southern District of New    York.     The balance   of

conveniences for the parties thus weighs in favor of transfer.

      Convenience of the witnesses, availability of process to compel witness

attendance, location of operative facts, and ease of access to sources of proof.

Apart from the four (out of 23)Plaintiffs that reside in Florida, there are no

allegations that suggest any witnesses or sources of evidence are located in the

Northern District of Florida. Conversely, Plaintiffs allege that Deutsche Bank's

New York branch was involved in processing the challenged transactions, see

Compl. n74, suggesting employees at Deutsche Bank's New York branch may be

relevant witnesses. Moreover, to the extent that overseas Deutsche Bank

employees   will be called to testify in this action, the Southern   and Eastern Districts

of New York provide a more convenient forum because (1) Deutsche Bank has a


I Deutsche Bank does not maintain a foreign bank branch anywhere else in the
United States, and neither Deutsche Bank nor any of its subsidiaries have offices in
the Northern District of Florida. Whitaker Decl. T'1T4, 6. Since Septernber 2014,
Deutsche Bank has been authorized to operate an international adrninistrative
office in Florida, íd.n 6, but Plaintiffs do not allege that this office has any
connection to this action. Nor could they as the office's existence postdates the
time period for which they seek to hold Deutsche Bank liable (through 20II), see ,
CornþI. fl 3, and the office does not conduct cash clearing activities, Whitaker Decl.
tl 6. Further, certain Deutsche Bank subsidiaries, excluding DBTCA, have offices
öutside of the Northern District of Florida, in Jacksonville and Miami, id. 1l6, but
Plaintiffs have not alleged that any of these subsidiaries are in any way connected
to this action.
e
  The Southern District of New York coufthouses in Manhattan are approxirnately
two rniles from the Eastern District of New York coufthouse in Brooklyn. See St-
JulesDecl. I11.

                                            l9
          Case 1:18-cv-00254-MW-GRJ Document 18 Filed 03/08/19 Page 25 of 32




branch in the Southern District of New York, in close proximity to the Eastern

District of New York, but no offices in the Northern District of Florida, see

Whitaker Decl. T1[4, 6, and (2) there are three airports in close proximity, two of

which have many direct flights to and from Frankfurt, where Deutsche Bank is

headquartered, see Whitaker Decl. fl 3; St-Jules Decl.          lTT   8-9. See In re World

Wide Med. Tech.       LLC,2012WL 1252423, at *2 (considering the relative difficulty

and cost of flying to Panama City, Florida versus Chicago); Thermal Techs., Inc. v

Dade Servs. Corp.,282 F. Supp. 2d7373,1376 (S.D.FIa.2003) (considering

distance from defendant's principal place of business relative to the court and the

transferee court).

            The court must also take into consideration the convenience of non-party

witnesses and whether witnesses       will   be subject to compulsory process. Plaintiffs

allege that Deutsche Bank's non-party subsidiary, DBTCA, was involved in the

processing of relevant transactions. Compl. 1lnß-74,232-33. DBTCA employees

are overwhelmingly located in the New          York.   ,See   Whitaker Decl. l]ll 5, 6

Moreover, given the age of Plaintiffs' allegations (dating back to 1999, see Compl.

TlT   1   , 169,205), relevant witnesses from Deutsche Bank's New York Branch rnay

no longer be ernployed by Deutsche Bank. The convenience of non-par1y

witnesses and the availability of compulsory process both weigh in favor              of

transfer


                                                20
     Case 1:18-cv-00254-MW-GRJ Document 18 Filed 03/08/19 Page 26 of 32




      Finally, the court must consider the locus of operative facts. Plaintiffs'

Complaint includes no allegations suggesting any operative facts occurred in

Florida. Instead, Plaintiffs' allegations of U.S.-based activity center on New York,

through which the relevant transactions were purportedly routed in a manner

designed to conceal the transactions from lJ.S. regulators and law enforcement

agencies.   ,See   Compl.[n74,145,I78,232-33. The locus of operative facts factor

consequently favors transfer   .   See Jones Real Estate,   Inc. v Avatel Techs.,.Iøc., No.

17-23933-CIV-O'SULLIVAN,2018 WL 1121537, at *3 (S.D.Fla. Mar. 1,2018)

(locus of operative facts factor favored transfer where locus was not in the

Southern District of Florida); Martín,2017 WL 6624136, af *6 ("significant

connections between a particular venue and the events that gave rise to a suit"

weigh in favor of transfer)

      C.      Plaintiffs' Choice of Venue Should Be Afforded No Deference
      Ordinarily, Plaintiffs are owed some level of deference to their choice of

forum. But this is not an ordinary case. As an initial matter, where,       as here, "there


is no material connection between the forum and the events underlying the cause          of

action," "[t]hat choice is not entitled to the weight it is generally accorded."

Martinez v. Shulkin, No. 1:l7cv 128-MW/CAS, 2017 WL 10821303, at * 1 (N.D.

Fla. Aug. 2,2017) (Walker, C.J.); see also Motorola Mobility, Inc.,B04 F. Supp

2d at 127 6 ("[W]here the operative facts underlying the cause of action did not


                                             21
       Case 1:18-cv-00254-MW-GRJ Document 18 Filed 03/08/19 Page 27 of 32




ocaur within the forum chosen by the Plaintiff, the choice of forum is entitled to

less consideration.")

       More importantly, Plaintiffs' choice of forum should be given no weight in

light of their decision to file the substantially similar Stephens action in New York

Indeed, Plaintiffs have selected New York as their forum of choice to litigate

essentially the same case; they have just broken off one defendant into a separate

case   The only plausible explanation for this decision is atactic by Plaintiffs'

counsel to take two separate bites at the apple, with the hope that at least one    of

their two chosen forums proves favorable. This apparent forum shopping is further

evidenced by the fact that 18 of the 25 Plainriffs all brought a similar action in the

Southern District of lllinois, but then voluntarily dismissed that action after it was

transferred to the Eastem District of New York. See Martinez,20l7 \ML 1366048;

Notice of Dismissal & Order, Martinez v. Deutsche BanklG, No. 1:17-cv-02474-

NGG-RER (S.D. Ill. Oct. 5,2017), ECF No. 130.

        Courts have found that such facts vitiate the deference that might otherwrse

be given to a plaintiff s choice of forum. For example, in Cain v. Twitter, Inc.,

another ATA case, the plaintiffs sought to hold technology companies responsible

for ISIS terrorist attacks. 2017 V/L 1489220. Like Plaintiffs here, the Cain

plaintiffs split their case in two, suing Twitter in the Southern District of New York

and Google in the Norlhern District of California.   Id. al*2. The New York coutl

                                           22
      Case 1:18-cv-00254-MW-GRJ Document 18 Filed 03/08/19 Page 28 of 32




granted Twitter's motion to transfer, refusing to "allow plaintiffs to litigate the

same claims in a piecemeal fashion against multiple defendants" in different

districts. Id. at *4. To do otherwise, the Court explained, would "endorse a result

that could promote forum shopping and result in substantial waste ofjudicial

resources   ." Id.   Precisely the same reasons support transfer here.l0

       In any event, even if Plaintiffs' choice of forum were entitled to some

deference, the choice of forum factor is still "not a more important factor than the

presence of related proceedings in the transferee district"." Martin v. South

Carolina Bank,81       1   F. Supp. 679, 686 (M.D. Ga. I 992). As explained above, that

factor points decisively toward transfer.

il.    Venue Is Proper in New York

       Pursuant Io 28 U.S.C. $ 1aOa(a), the Court "may transfer any        civil action to

any other district . . . where it may have been brought or to any district . . . to


t0
    See Clifton v. Florida Bow Thrusters,lnc., No. 5:1O-cv-B/RSÆMT,2010 WL
 11507724, at*2 (N.D.Fla. Mar. 17,2010) (noting that the plaintiff s connections
to the district were transitory, "raisfing] the suspicion of forum shopping, a
practice long disfavored by federal courts"); Thermal Techs. , 2P -F . Supp.    2d aI
                                                                            -shopping
iTlg   ("[W]ñen    a plaintiff s choice of forurl was motivqted by a forurn
reason .-. . that plâintiff s choice of forum would be entitled to rnuch less
deference." (citlng lragorri v. United Techs. Corp.,274 F.3d 65? 72 (2d Cir. 2001)
          'af *Southards v. ConAgra Foods, Inc., No. C 07-05355 JF, 2008 WL
(en banc));
 i 08899,       7 (N.D. Cal. Jan. B, 2008) ("[T]he Courl may disregard the plaintiff s
choice of forum where the plaintiff s suit is the result of forum-shopping ." (citing
Alltrade, Inc. v. Unìweld PVods., Lnc.,946F.2d622,628 (9th Cir. 1991)); Deepv.
XAC, LLC,No.07-8-C,2007 WL 1308356, at*3-4 (W.D.Ky. May 2,2007)
(holding that plaintiff s conduct suggesting forum shopping "militate[d] in favor of
transfert' and that plaintiff s choice of forum warranted no deference where
plaintiff initially filed suit in the Norlhern District of New York, then disrnissed the
ãction and filed in the Western District of Kentucky).

                                               ZJ
     Case 1:18-cv-00254-MW-GRJ Document 18 Filed 03/08/19 Page 29 of 32




which all parties have consented." Under the ATA, venue is proper if any single

plaintiff or defendant resides or has an agent in the district. See 18 U.S.C.

$ 233a(a) (venue is proper under the   ATA where "any plaintiff resides or where

any defendant resides or is served, or has an agent")

      Because Deutsche Bank operates a branch in the Southern District of New

York, see V/hitaker Decl. fl 4; CompI.l[72, it has an agent in the district for

purposes of the   ATA.   See Wultz v. Islamic Republíc of lran,762F. Srpp. 2d 18,

32 (D.D.C.2011) ("[B]ecause fBank of China, Ltd.] operates a branch in New

York, it both 'resides' and 'has an agent' in the forum, and thus any suit against it

may be properly venued under the    ATA."). Venue is thus proper in the Southern

District of New York for this action. See 18 U.S.C. $ n3a@).

      The most logical transferee district for this action is the Eastern District   of

New York, where the case that Plaintiffs have arlificially divided can be

consolidated into one. And in light of the ATA's venue provision, Plaintiffs could

properly have joined Deutsche Bank as an additional defendant in the Stephens

case. See 18 U.S.C. $ B3a@) (venue under the ATA can be based on a single

plaintiff or defendant). However, because none of the parties to this action resides

in or has an agent in the Eastern District of New York, venue in that district would

not have been proper in a case suing Deutsche Bank alone




                                          24
     Case 1:18-cv-00254-MW-GRJ Document 18 Filed 03/08/19 Page 30 of 32




      Thus, to facilitate transfer to the most logical venue, and as $ 1404

specifically contemplates, for purposes of this motion Deutsche Bank will consent

to transfer this action to the Eastern District of New   York.   Deutsche Bank invites

Plaintifß to do the same, in order to achieve the most logical and efficient result.

See 28 U.S.C. $ 1aOa(a) (transfer appropriate to district     "to which all parties have

consented"); see, e.g., Cozumel Leasing, LLC v.     Int'l   Jets,1nc., No. 5:1O-cv-

8/RS/EMT ,   201   6 WL 397 615,   ú * I (M.D. Fla. Feb. 2, 201 6) (granting   motion to

transfer to consented-to district). But if Plaintiffs for some reason refuse to

consent to transfer to the Eastern District of New York where they already have a

case pending, the Court should transfer this action to the Southern     District of New

York, where the case could be consolidated with O'Sullivan. This would also be

an efficient and appropriate forum    - and importantly, would not "endorse a result
that could promote forum shopping and result in substantial waste ofjudicial

resources." Cain,2017 WL 1489220, at*4

                                     CONCLUSION

      For the foregoing reasons, Deutsche Bank requests that the Court transfer

this action to the Eastern District of New York if Plaintiffs will consent to that

forurn, or in the alternative to the Southern District of New York




                                             25
   Case 1:18-cv-00254-MW-GRJ Document 18 Filed 03/08/19 Page 31 of 32




DATED: March 8,2019              Respectfully submitted,

                                 s/Lorence Jon Bielbv
                                 Lorence Jon Bielby
                                 Florida Bar No. 393517
                                 GREET{BERG TRAURIG, P.A.
                                 101 East College Avenue
                                 Post Office Drawer 1838
                                 Tallahassee, FL 32301
                                 (850) 222-6891 Phone
                                 (850) 681-0207 Fax
                                 BielbyL@gtlaw.com
                                 HoffmanM @gflaw.com
                                 FLService@gtlaw.com

                                 John E. Hall (pro hac viceforthcoming)
                                 Mark P. Gimbel (pro hac viceforthcoming)
                                 Laena St-Jules Qtro hac vice forthcomíng)
                                 COVINGTON & BURLING LLP
                                 The New York Times Building
                                 620 Eighth Avenue
                                 New York, New York 1001 8
                                 (212) 841-1000 Phone
                                 (212) 841-1010 Fax
                                 jhall@cov.com
                                 mgimbel@cov.com
                                 lstjules@cov.com

                                  David M. Zionts Qtro hac vice
                                 forthcoming)
                                 COVINGTON & BURLING LLP
                                 One CityCenter
                                 850 Tenth St., NV/
                                 Washington, DC 20001
                                 (202) 662-6000 Phone
                                 (202) 662-6291 Fax
                                 dzionts@cov.com

                                 Attorneys.for Defendant Deutsche Bank AG


                                  26
     Case 1:18-cv-00254-MW-GRJ Document 18 Filed 03/08/19 Page 32 of 32




                    LOCAL RULE 1.I(C) CERTIFICATIOI\

      Pursuant to Local Rule 7.1(B), counsel for movant conferred orally with

Plaintiffs' counsel in good faith regarding the issues raised in this motion, but the

parties were unable to resolve the issues

                    LOCAL RULE        7.1        CERTIF'ICATION

      Pursuant to Local Rule 7.1(F),   I certi$r that the foregoing memorandum of

law contains 6,301 words, excluding the portions of the memorandum of law

exempted by Local Rule 7.1(F).




                                                      s/Lorence Jon Bielby
                                                      LORENCE JON BIELBY




                                            27
